                                        Case 23-13507-PDR                       Doc   Filed 07/18/23              Page 1 of 7
bkf




       Fill in this information to identify the case:

       Debtor 1        Luz A. Lajares aka Luz A Sanchez aka Luz Adriana Lajares

       Debtor 2
       United States Bankruptcy Court for the: Southern District of Florida

       Case number :          23-13507-PDR


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


      Name of                MCLP Asset Company, Inc.                                                Court claim no.                              2
      creditor:                                                                                      (if known):
      Last 4 digits of any number
      you use to identify the debtor's                                        3307
      account:
      Does this notice supplement a prior notice of postpetition fees, expenses,
      and charges?
            [X] No
            [ ] Yes. Date of the last notice.

  Part 1:         Itemize Postpetition Fees, Expenses, and Charges



 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that approval
 in parentheses after the date the amount was incurred.

        Description                                                                              Dates incurred                  Amount

       Late Charges                                                                                                             $0.00
       Non-sufficient funds (NSF) fees                                                                                          $0.00
       Attorney Fees                                                                                                            $0.00
       Filing fees and court costs                                                                                              $0.00
       Bankruptcy/Proof of claim fees                                                           07/12/2023                      $300.00
       Appraisal/Broker`s price opinion fees                                                                                    $0.00
       Property Inspection Fees                                                                                                 $0.00
       Tax Advances (Non-Escrow)                                                                                                $0.00
       Insurance Advances (Non-Escrow)                                                                                          $0.00
       Property preservation expenses. Specify:                                                                                 $0.00
       Other. Specify: Plan Review Fees                                                         05/31/2023                      $125.00
       Other. Specify: 410A Fee                                                                                                 $0.00
       Other. Specify: Objection to Confirmation                                                06/05/2023                      $100.00
       Other. Specify:                                                                                                          $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 1
                                      Case 23-13507-PDR                  Doc      Filed 07/18/23               Page 2 of 7
Debtor 1 Luz A. Lajares aka Luz A Sanchez aka Luz Adriana Lajares                Case Number: 23-13507-PDR
         ________
                First Name              Middle Name          Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


          /s/ Seth Greenhill                                                              Date       7/18/2023
    Signature



Print:                       Seth Greenhill                                    Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                  Email             PLGinquiries@padgettlawgroup.com




Official Form 410S2                                   Notice of Postpetition Mortgage Fees, Expenses, and Charges              page 2
                        Case 23-13507-PDR          Doc     Filed 07/18/23      Page 3 of 7




                                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties on

the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                              18th    day of July,

2023.



                                                      /S/ Seth Greenhill

                                                      ___________________________________
                                                      SETH GREENHILL
                                                      PADGETT LAW GROUP
                                                      6267 Old Water Oak Road, Suite 203
                                                      Tallahassee, FL 32312
                                                      (850) 422-2520 (telephone)
                                                      (850) 422-2567 (facsimile)
                                                      PLGinquiries@padgettlawgroup.com
                                                      Authorized Agent for Creditor




Official Form 410S2            Notice of Postpetition Mortgage Fees, Expenses, and Charges           page 3
                           Case 23-13507-PDR        Doc     Filed 07/18/23      Page 4 of 7


                                 SERVICE LIST (CASE NO. 23-13507-PDR)

Debtor
Luz A Lajares
900 Cumberland Terrace
Fort Lauderdale, FL 33325
aka Luz A Sanchez
aka Luz Adriana Lajares

Attorney
Ricardo Corona, Esq.
Corona Law Firm PA
6700 SW 38 Street
Miami, FL 33155

Trustee
Robin R Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355


US Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




Official Form 410S2             Notice of Postpetition Mortgage Fees, Expenses, and Charges   page 4
                           Case 23-13507-PDR           Doc      Filed 07/18/23            Page 5 of 7
  Invoice Date                                                                                          Invoice Number
  06/01/2023

                                           6267 Old Water Oak Road, Suite 203
                                                 Tallahassee, FL 32312
                           850-422-2520 / 850-422-2567 fax / accounting@padgettlawgroup.com


Selene Finance LP
3501 Olympus Boulevard
5th Floor, Suite 500
Dallas, TX 75019

RE: Selene Finance LP Loan#
vs. Luz A. Lajares
OURFILE

Property Address: 900 Cumberland Terrace, Davie, FL 33325

BILLING SUMMARY:
                                                             FEES
DATE             FEE DESCRIPTION                                                                             AMOUNT
05/31/2023       Ch 13 Plan Review - Recoverable                                                               $475.00

                                                           TOTALS
DESCRIPTION                                                                                                  AMOUNT
Total Fees This Invoice                                                                                        $475.00
Total Hourly Fees This Invoice                                                                                   $0.00
Total Costs This Invoice                                                                                         $0.00
Total Amount Due This Invoice                                                                                  $475.00

                                        Thank you for the opportunity to be of service.
                           Case 23-13507-PDR            Doc      Filed 07/18/23            Page 6 of 7
  Invoice Date                                                                                           Invoice Number
  07/13/2023

                                           6267 Old Water Oak Road, Suite 203
                                                 Tallahassee, FL 32312
                           850-422-2520 / 850-422-2567 fax / accounting@padgettlawgroup.com


Selene Finance LP
3501 Olympus Boulevard
5th Floor, Suite 500
Dallas, TX 75019

RE: Selene Finance LP Loan#
vs. Luz A. Lajares
OURFILE

Property Address: 900 Cumberland Terrace, Davie, FL 33325

BILLING SUMMARY:
                                                              FEES
DATE             FEE DESCRIPTION                                                                              AMOUNT
07/12/2023       Loan Payment History (410 A) - Recoverable                                                     $250.00
07/12/2023       Proof of Claim Preparation Fee - Recoverable                                                   $475.00

                                                            TOTALS
DESCRIPTION                                                                                                   AMOUNT
Total Fees This Invoice                                                                                         $725.00
Total Hourly Fees This Invoice                                                                                    $0.00
Total Costs This Invoice                                                                                          $0.00
Total Amount Due This Invoice                                                                                   $725.00

                                         Thank you for the opportunity to be of service.
                           Case 23-13507-PDR            Doc      Filed 07/18/23            Page 7 of 7
  Invoice Date                                                                                           Invoice Number
  06/05/2023

                                           6267 Old Water Oak Road, Suite 203
                                                 Tallahassee, FL 32312
                           850-422-2520 / 850-422-2567 fax / accounting@padgettlawgroup.com


Selene Finance LP
3501 Olympus Boulevard
5th Floor, Suite 500
Dallas, TX 75019

RE: Selene Finance LP Loan#
vs. Luz A. Lajares
OURFILE

Property Address: 900 Cumberland Terrace, Davie, FL 33325

BILLING SUMMARY:
                                                              FEES
DATE             FEE DESCRIPTION                                                                              AMOUNT
06/05/2023       Objection to Confirmation of Plan - Recoverable                                                $550.00

                                                            TOTALS
DESCRIPTION                                                                                                   AMOUNT
Total Fees This Invoice                                                                                         $550.00
Total Hourly Fees This Invoice                                                                                    $0.00
Total Costs This Invoice                                                                                          $0.00
Total Amount Due This Invoice                                                                                   $550.00

                                         Thank you for the opportunity to be of service.
